The facts stated in the petition show that a legal right — the right to require his adversary in the pending suit to answer the petitioner's interrogatories, filed under section 7764 of the Code — has been denied to him for the redress of which the writ of mandamus is the appropriate remedy. Robinson v. Craig, 16 Ala. 50; Mallory v. Matlock, 7 Ala. 757; Id.,10 Ala. 595.
We do not overlook the decision in Ex parte Grantland,29 Ala. 69, that the writ will not be granted in such cases when it appears that the interrogatories to which it is directed call for irrelevant evidence. But the petition here shows that the interrogatories in question, with perhaps a few isolated exceptions, are not vague nor uncertain, and call for matter which is relevant to the issue and legally admissible, and as to which the defendant is bound and should be required to answer.
As to the few possible exceptions referred to, if legally objectionable appropriate objections should be filed and brought to the attention of the trial court, but that cannot justify the trial court in its refusal to require answers to proper questions.
The petition does not seek to control any discretionary action of the trial court, nor does it seek to review, by piecemeal, any ruling of the court on the admissibility of evidence, and the writ will not so operate.
The demurrer to the petition will be overruled, and it is ordered that the rule nisi issue as prayed. Since, however, the petitioner has filed a second set of interrogatories, it is unnecessary to deal further with the first set, and the remedial range of the writ will be limited to the action of the trial court with respect to the second set of interrogatories, those filed on December 31, 1926.
Writ granted.
ANDERSON, C. J., and THOMAS and BROWN, JJ., concur.